Case 3:05-cr-30015-SMY     Document 405 Filed 08/30/06     Page 1 of 1     Page ID
                                     #915
                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,           )
                                    )
                         Plaintiff, )
                                    )
            vs.                     )               NO. 05-CR-30015-DRH
                                    )
TIMOTHY WEDDLE,                     )
                                    )
                         Defendant. )

                                    ORDER

HERNDON, District Judge:

            Before the Court is Attorney Robert Herman’s motion to withdraw as

counsel in the above-captioned matter. (Doc. 404.) Because alternate counsel was

appointed on behalf of Defendant Timothy Weddle, the Court GRANTS Attorney

Herman’s motion and WITHDRAWS Attorney Herman from this matter. (Doc.

404.)

            IT IS SO ORDERED.

            Signed this 30th day of August, 2006.




                                            /s/       David RHerndon
                                            United States District Judge




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